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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                         Chapter 11
    In re:
                                                         Case No. 23-11069 (CTG)
    YELLOW CORPORATION, et al.,1
                                                         (Jointly Administered)
                             Debtors.
                                                         Re: Docket No. 760



                         NOTICE OF RATE INCREASE OF
           AKIN GUMP STRAUSS HAUER & FELD LLP AS LEAD CO-COUNSEL
           TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF
         YELLOW CORPORATION, ET AL., NUNC PRO TUNC TO AUGUST 18, 2023

             1.    Pursuant to the Order Authorizing the Official Committee of Unsecured Creditors

of Yellow Corporation, et al. to Retain and Employ Akin Gump Strauss Hauer & Feld LLP as Lead

Co-Counsel, Nunc Pro Tunc to August 18, 2023 [Docket No. 760] (the “Retention Order”),2 Akin

Gump Strauss Hauer & Feld LLP (“Akin”), as lead co-counsel to the Committee, submits this

notice of rate increase.

             2.    As set forth in the Application, Akin’s hourly rates are subject to periodic

adjustments (typically on January 1st of each year) to reflect economic and other conditions. See

Application, ¶ 11. The Committee has consented to such ordinary course rate increases. See

Application, Declaration of Brad Berliner in Support of the Application of the Official Committee

of Unsecured Creditors of Yellow Corporation, et al. to Retain and Employ Akin Gump Strauss

Hauer & Feld LLP as Lead Co-Counsel, Nunc Pro Tunc to August 18, 2023, ¶ 5.



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Retention Order.
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       3.      Paragraph 5 of the Retention Order provides that Akin shall provide ten (10)

business days’ notice to the Committee, the Debtors and the U.S. Trustee before any increases in

the rates set forth in the Application are implemented and shall file a notice setting forth any such

increases with the Court.

       4.      In the ordinary course, Akin has adjusted the hourly rates charged by its

professionals and paraprofessionals. Effective as of January 1, 2024, the standard hourly rate

ranges established by Akin for professionals and paraprofessionals employed in its domestic

offices are as set forth below:

                             Billing Category          2024 Range

                                  Partners           $1,440-$2,195
                              Senior Counsel         $1,055-$1,800
                                 Counsel             $1,295-$1,825
                                Associates            $840-$1,350
                                Paralegals             $255-$530


 Dated: December 12, 2023
 Wilmington, Delaware

 BENESCH, FRIEDLANDER,                                  AKIN GUMP STRAUSS HAUER & FELD
     COPLAN & ARONOFF LLP                               LLP

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